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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN SOUTHERN
                          DIVISION
TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DAREN WADE
RUBINGH                            Case No. 2:20-cv-13134

       Plaintiff

v.                                                HON. LINDA V. PARKER

GRETCHEN WHITMER, in her official
capacity as Governor of the State of Michigan,
JOCELYN BENSON, in her official capacity          MAG. R. STEVEN WHALEN
as Michigan Secretary of State, and the
Michigan BOARD OF STATE
CANCASSERS,
       Defendants

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and MICHIGAN DEMOCRATIC
PARTY,

       Intervening Defendants.


                      PLAINTIFF'S MOTION TO ADJOURN HEARING

        Plaintiffs,       TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN                         EARL

 HAGGARD, CHARLES JAMES RITCHARD, JAMES DAVID HOOPER, and DAREN

 WADE RUBINGH, by and through their counsel, file this Motion to Adjourn Hearing for the

 reasons stated herein.

        1.     The present schedule set by the Court calls for a motion hearing on July 6, 2021 at

 2:00 PM.

        2.     Plaintiff's counsel, Stefanie Lambert Juntilla, has an unavoidable conflict on that

 date, being a planned vacation over the July 4, 2021 holiday with her children.
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        3.     Pursuant to LR 7.1, Plaintiff's attorney sought concurrence with opposing counsel.

 Attorney Heather Meingast stated that she may also have a conflict and will not oppose the motion

 to adjourn. Additionally, attorney Scott Eldridge does not object to an adjournment, and attorney

 Andrew Paterson does object to an adjournment. No other attorneys responded. WHEREFORE,

 for the reasons stated herein Plaintiff respectfully requests that this

 Honorable Court adjourn the July 6, 2021 to a future date.

                                                      Respectfully submitted



                                                      /s/ Stefanie Lambert Juntilla
Dated: June 28, 2021                                  STEFANIE LAMBERT JUNTTILA
                                                      (P71303)
                                                      Attorney for the Plaintiffs
                                                      500 Griswold Street, Ste. 2340
                                                      Detroit, MI 48226 (313)
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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN SOUTHERN
                          DIVISION
TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DAREN WADE
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CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and MICHIGAN DEMOCRATIC
PARTY,

       Intervening Defendants.


       BRIEF IN SUPPORT OF PLAINTIFF'S MOTION TO ADJOURN HEARING

        This motion is based on LR 7 and the files and records in this case.
                                                Detroit, MI 48226 (313) 963-4740
                                                attorneystefanielambert@gmail.com

 Dated: June 28, 2021
 Respectfully
 submitted

 /s/ Stefanie Lambert
 Juntilla                                        3
   STEFANIE
   LAMBERT
   JUNTTILA
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